                        Case 1-19-41508-ess               Doc         Filed 07/31/19         Entered 07/31/19 15:03:57
 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              Limane Houanche
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Eastern       District
                                                 District of Newof __________
                                                                    York

 Case number            19-41508
                        ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                            12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



                   CitiMortgage, Inc.
 Name of creditor: _______________________________________                                                              4
                                                                                            Court claim no. (if known): __________________

 Last 4 digits of any number you use to
 identify the debtor’s account:                            7 ____
                                                          ____ 8 ____
                                                                   3 ____
                                                                       2

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
       No
       Yes. Date of the last notice: _____________


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.

      Description                                                          Dates incurred                                    Amount

  1. Late charges                                                          _________________________________           (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                       _________________________________           (2)   $ __________
  3. Attorney fees                                                         6/6/19
                                                                           _________________________________           (3)         550.00
                                                                                                                             $ __________
  4. Filing fees and court costs                                           _________________________________           (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                        5/23/19
                                                                           _________________________________           (5)         300.00
                                                                                                                             $ __________
  6. Appraisal/Broker’s price opinion fees                                 _________________________________           (6)   $ __________
  7. Property inspection fees                                              _________________________________           (7)   $ __________
  8. Tax advances (non-escrow)                                             _________________________________           (8)   $ __________
  9. Insurance advances (non-escrow)                                       _________________________________           (9)   $ __________
 10. Property preservation expenses. Specify:_______________               _________________________________          (10)   $ __________
 11. Other. Specify:____________________________________                   _________________________________          (11)   $ __________
 12. Other. Specify:____________________________________                   _________________________________          (12)   $ __________
 13. Other. Specify:____________________________________                   _________________________________          (13)   $ __________
 14. Other. Specify:____________________________________                   _________________________________          (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                              Notice of Postpetition Mortgage Fees, Expenses, and Charges                          page 1
                 Case 1-19-41508-ess                            Doc       Filed 07/31/19         Entered 07/31/19 15:03:57



Debtor 1         Limane                                Houanche
              _______________________________________________________                                            19-41508
                                                                                             Case number (if known) _____________________________________
              First Name       Middle Name              Last Name




 Part 2:      Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



               Tracy Schreiber-Banks
                 __________________________________________________
                  Signature
                                                                                             Date    07/31/2019
                                                                                                     ___________________




 Print:            Tracy                               Schreiber-Banks
                  _________________________________________________________                  Title    Attorney
                                                                                                     ___________________________
                  First Name                      Middle Name         Last Name



 Company           Roach & Lin, P.C.
                  _________________________________________________________



 Address           6901 Jericho Turnpike, Suite 240
                  _________________________________________________________
                  Number                 Street
                   Syosset                         NY      11791
                  ___________________________________________________
                  City                                                State       ZIP Code




 Contact phone     (516)938-3100
                  _______________________                                                           bankruptcy@roachlin.
                                                                                             Email ________________________    com




Official Form 410S2                                 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                 page 2

      Print                           Save As...                      Add Attachment                                                       Reset
